Case 2:21-cv-04733-TJS Document 1-3 Filed 10/27/21 Page 1 of 24




               EXHIBIT A
Case 2:21-cv-04733-TJS Document 1-3 Filed 10/27/21 Page 2 of 24


                                                          Filed and Attested by
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                                                                  M. BARR




                                       2021-05552-CT
Case 2:21-cv-04733-TJS Document 1-3 Filed 10/27/21 Page 3 of 24




                                       2021-05552-CT
Case 2:21-cv-04733-TJS Document 1-3 Filed 10/27/21 Page 4 of 24




                                       2021-05552-CT
Case 2:21-cv-04733-TJS Document 1-3 Filed 10/27/21 Page 5 of 24




                                       2021-05552-CT
Case 2:21-cv-04733-TJS Document 1-3 Filed 10/27/21 Page 6 of 24




                                       2021-05552-CT
Case 2:21-cv-04733-TJS Document 1-3 Filed 10/27/21 Page 7 of 24




                                       2021-05552-CT
Case 2:21-cv-04733-TJS Document 1-3 Filed 10/27/21 Page 8 of 24




                                       2021-05552-CT
Case 2:21-cv-04733-TJS Document 1-3 Filed 10/27/21 Page 9 of 24




                                       2021-05552-CT
Case 2:21-cv-04733-TJS Document 1-3 Filed 10/27/21 Page 10 of 24




                                        2021-05552-CT
Case 2:21-cv-04733-TJS Document 1-3 Filed 10/27/21 Page 11 of 24




                                        2021-05552-CT
Case 2:21-cv-04733-TJS Document 1-3 Filed 10/27/21 Page 12 of 24




                                        2021-05552-CT
Case 2:21-cv-04733-TJS Document 1-3 Filed 10/27/21 Page 13 of 24




                                        2021-05552-CT
Case 2:21-cv-04733-TJS Document 1-3 Filed 10/27/21 Page 14 of 24




                                        2021-05552-CT
Case 2:21-cv-04733-TJS Document 1-3 Filed 10/27/21 Page 15 of 24




                                        2021-05552-CT
Case 2:21-cv-04733-TJS Document 1-3 Filed 10/27/21 Page 16 of 24




                                        2021-05552-CT
Case 2:21-cv-04733-TJS Document 1-3 Filed 10/27/21 Page 17 of 24




                                        2021-05552-CT
Case 2:21-cv-04733-TJS Document 1-3 Filed 10/27/21 Page 18 of 24




                                        2021-05552-CT
Case 2:21-cv-04733-TJS Document 1-3 Filed 10/27/21 Page 19 of 24




                                        2021-05552-CT
Case 2:21-cv-04733-TJS Document 1-3 Filed 10/27/21 Page 20 of 24




                                        2021-05552-CT
Case 2:21-cv-04733-TJS Document 1-3 Filed 10/27/21 Page 21 of 24




                                        2021-05552-CT
Case 2:21-cv-04733-TJS Document 1-3 Filed 10/27/21 Page 22 of 24




                                        2021-05552-CT
Case 2:21-cv-04733-TJS Document 1-3 Filed 10/27/21 Page 23 of 24




                                        2021-05552-CT
Case 2:21-cv-04733-TJS Document 1-3 Filed 10/27/21 Page 24 of 24




                                        2021-05552-CT
